Case 2:22-cv-01916-FWS-GJS                   Document 98             Filed 03/03/25        Page 1 of 2 Page ID
                                                  #:911
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  CASE NUMBER:


 ABDIRAHMAN ADEN KARIYE, et al.                                     2:22−cv−01916−FWS−GJS
                                                  Plaintiff(s),

          v.
 ALEJANDRO MAYORKAS, et al.
                                                                    NOTICE TO FILER OF DEFICIENCIES IN
                                                Defendant(s).               FILED DOCUMENT




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                                                Clerk, U.S. District Court

 Dated: March 3, 2025                           By: /s/ ShaRon P Lorenzo sharon_lorenzo@cacd.uscourts.gov
                                                   Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge



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